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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF DELAWARE

         M.M., a minor, by next friend Darin Thomas,       )
         and DARIN THOMAS, individually,                   )
                                                           )
                                        Plaintiffs,        )
                                                           )
                                                               C.A. No. 2018-119-JRS
                v.                                         )
                                                           )
         RED CLAY CONSOLIDATED SCHOOL                      )
         DISTRICT,                                         )
                                                           )
                                        Defendant.         )

                                   DEFENDANT’S NOTICE OF REMOVAL

                        PLEASE TAKE NOTICE that Defendant Red Clay Consolidated School District

         hereby removes this matter to the United States District Court for the District of Delaware,

         pursuant to 28 U.S.C. § 1441. The grounds for removal are as follows:

                        1.      On or about February 23, 2018, Plaintiffs filed a Complaint captioned

         M.M., et al. v. Red Clay Consolidated School District, C.A. No. 2018-119-JRS (the

         “Complaint”) in the Court of Chancery of the State of Delaware. Plaintiffs served a copy of the

         Complaint on Defendant on or about March 9, 2018.

                        2.      In accordance with 28 U.S.C. § 1446(a), a true and correct copy of all

         process, pleadings, and orders filed in the case is attached hereto as Exhibit A.

                        3.      Pursuant to 28 U.S.C. § 1446(d), Defendant will promptly provide written

         notice of removal of the action to Plaintiffs, and will promptly file a copy of this Notice of

         Removal with the Register in Chancery of the Court of Chancery of the State of Delaware.

                        4.      This action includes claims arising pursuant to Section 504 of the

         Rehabilitation Act of 1973, 29 U.S.C. § 794(a), and the Individuals with Disabilities Education



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         Act, 20 U.S.C. § 1400, et seq., conferring original jurisdiction upon this court. See, e.g.,

         Complaint at ¶¶ 48 & 49, and request for relief ¶ 1, 5 & 9.

                        5.      Removal is proper in any action that could have originally been filed in

         federal court. 28 U.S.C. § 1441. District courts have original jurisdiction in cases involving a

         “[f]ederal question,” i.e., cases “arising under the constitution, laws, or treaties of the United

         States.” 28 U.S.C. § 1331.

                        6.      This Notice of Removal is being filed within 30 days of Defendants’

         receipt of the Complaint and is therefore timely filed under 28 U.S.C. § 1446(b).

                        WHEREFORE, Defendant respectfully requests that the above-titled action be

         removed to this Court from the Court of Chancery of the State of Delaware.




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         Dated: March 20, 2018




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